vor | Department of
STATE | Taxation and Finance

BANKRUPTCY UNIT

February 8, 2021 , ‘

United States Bankruptcy Court

Us
Northern District of California wigs 18 m,
280 South First Street Room 303 Msrm Or Cy
C
San Jose, CA 95113 Gey A.

Re: Claim withdrawal for Techshop Inc.
Docket #: 18-50398

Dear Sir or Madam:

New York State Department of Taxation and Finance is withdrawing: the Pre-Petition
proof of claim #244-1 in the amount of $1050.00 with a statement date of October 1,
2018. There is no surviving Pre-Petition proof of claim.

If you have any questions, please contact the Bankruptcy Unit at (518) 457-3160.

Sincerely,
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D. Rodriguez Ng
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PO Box 5300, Albany NY 12205 | (518) 457-3160 [| www.tax.ny.gov

 
 

 

 

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Case: 18-50398 Doc# 265 Filed: 02/18/21 Entered: 02/18/21 11:47:56 Page 2 of 2
